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          EXHIBIT 2
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13

14
                                  UNITED STATES DISTRICT COURT
15
                                 EASTERN DISTRICT OF CALIFORNIA
16
     COUNTY OF SAN JOAQUIN, CITY OF                     Case No.
17   STOCKTON, and MONTEZUMA FIRE
     PROTECTION DISTRICT,                               DEFENDANTS’ NOTICE OF
18
                          Plaintiffs,                   REMOVAL
19
           vs.
20
     PURDUE PHARMA L.P., PURDUE PHARMA                  Action Filed: May 25, 2017
21   INC., THE PURDUE FREDERICK COMPANY,
     INC., TEVA PHARMACEUTICALS USA, INC.,
22   CEPHALON, INC., JOHNSON & JOHNSON,
     JANSSEN PHARMACEUTICALS, INC.,
23   ORTHO-MCNEIL-JANSSEN
     PHARMACEUTICALS, INC. N/K/A JANSSEN
24   PHARMACEUTICALS, INC., JANSSEN
     PHARMACEUTICA, INC. N/K/A JANSSEN
25   PHARMACEUTICALS, INC., ENDO HEALTH
     SOLUTIONS INC., ENDO
26   PHARMACEUTICALS, INC., McKESSON
     CORPORATION, and DOES 1-100,
27   INCLUSIVE,

28                        Defendants.



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 1          Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, defendants Endo Health Solutions Inc.,

 2   Endo Pharmaceuticals Inc. (collectively, “Endo”), Purdue Pharma L.P., Purdue Pharma Inc., the

 3   Purdue Frederick Company, Inc., Teva Pharmaceuticals USA, Inc., Cephalon, Inc., Johnson &

 4   Johnson, Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen

 5   Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.

 6   (collectively, “Removing Defendants”) hereby give notice of removal of this action, captioned

 7   County of San Joaquin et al. v. Purdue Pharma L.P. et al., bearing civil action number STK-CV-

 8   UBT-2017-5325, from the Superior Court of California, County of San Joaquin, to the United States

 9   District Court for the Eastern District of California. Pursuant to 28 U.S.C. § 1446(a), Removing

10   Defendants provide the following statement of the grounds for removal:

11                                              BACKGROUND
12          1.      On May 25, 2017, plaintiffs—County of San Joaquin, City of Stockton, and

13   Montezuma Fire Protection District (collectively, “Plaintiffs”)—filed a Complaint (attached hereto,

14   with process papers served upon Endo as Exhibit 1) in the Superior Court of California, County of

15   San Joaquin, against the following manufacturers of FDA-approved opioid medications and the

16   following distributor of such medications, as well as unnamed, unidentified Doe Defendants:

17                  (a)     “Manufacturer Defendants” — Endo Pharmaceuticals Inc., Endo Health

18   Solutions Inc., Purdue Pharma L.P., Purdue Pharma Inc., the Purdue Frederick Company, Inc., Teva

19   Pharmaceuticals USA, Inc., Cephalon, Inc., Johnson & Johnson, Janssen Pharmaceuticals, Inc.,

20   Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc., and Janssen

21   Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.;

22                  (b)     “Distributor Defendant” — McKesson Corporation.

23          2.      All of the Manufacturer Defendants manufacture and market pharmaceutical

24   products, and are citizens of states other than California.

25          3.      Plaintiffs’ Complaint alleges that the Distributor Defendant, McKesson Corporation,

26   violated the Controlled Substances Act, 21 U.S.C. § 801 et seq. (the “CSA”), by purportedly failing

27   to report suspicious orders of opioid products in connection with its distribution of such products to

28

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 1   health care facilities and pharmacies. (Compl. ¶¶ 43-45, 209-214.) McKesson Corporation is the

 2   only defendant named in this action that is a citizen of California.

 3          4.      The thrust of the Complaint is that the Manufacturer Defendants engaged in a

 4   campaign of misrepresentations about the risks of FDA-approved opioid medications. (Id. ¶¶ 7-22,

 5   66-208.) Plaintiffs allege that the Manufacturer Defendants misrepresented the dangers of long-

 6   term opioid use, and engaged in a coordinated campaign to create the perception that opioid

 7   medications are safe for the treatment of chronic pain, in order to expand the market for such

 8   medications and increase profits. (Id. ¶¶ 7-11.) According to Plaintiffs, the Manufacturer

 9   Defendants accomplished this objective by “convincing doctors, patients, and others that the

10   benefits of using opioids to treat chronic pain outweighed the risks, and that opioids could be safely

11   used by most patients without threat of addiction.” (Id. ¶ 12.) Plaintiffs assert that the

12   Manufacturer Defendants’ alleged conduct has caused a rise in opioid addiction, resulting in an

13   “increased demand for police, fire, medical, and other municipal services which directly caused

14   Plaintiffs to incur increased expenses to care for their addicted citizens and employees.” (Id. ¶ 13.)

15          5.      Unlike the allegations against the Manufacturer Defendants, none of the Plaintiffs’

16   allegations against the Distributor Defendant relate to purported misrepresentations about opioid

17   medications. Instead, Plaintiffs allege that the Distributor Defendant failed to report suspicious

18   orders of opioid products in violation of the CSA. (Id. ¶¶ 43-45, 209-214.) In fact, the Complaint

19   says virtually nothing about the Distributor Defendant: of the Complaint’s 238 paragraphs, only

20   nine reference the Distributor Defendant. (Id.)

21          6.      The Complaint purports to assert four causes of action against the Manufacturer

22   Defendants: (1) public nuisance; (2) false representations; (3) unjust enrichment; and (4) parens

23   patriae. (Id. ¶¶ 215-238.) Plaintiffs assert only the last two claims—unjust enrichment and parens

24   patriae—against the Distributor Defendant. (Id. ¶¶ 230-238.)

25          7.      Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders served

26   on Removing Defendants is attached hereto as Exhibit 1 (which contains all documents served by

27   Plaintiffs on Endo) and a copy of the state court docket and all documents filed in the state court

28   action are attached hereto as Exhibit 2.

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 1                                      VENUE AND JURISDICTION

 2          8.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 84(b), 1391, 1441(a), and

 3   1446(a) because the San Joaquin Superior Court, where the Complaint was filed, is a state court

 4   within the Eastern District of California.

 5          9.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because (1) there

 6   is complete diversity of citizenship between Plaintiffs and all properly joined defendants, (2) the

 7   amount in controversy exceeds $75,000, exclusive of interests and costs, and (3) all other

 8   requirements for removal have been satisfied.

 9   I.     THERE IS COMPLETE DIVERSITY BETWEEN PLAINTIFFS AND ALL
            PROPERLY JOINED DEFENDANTS
10

11          10.     There is complete diversity of citizenship here because all Plaintiffs are California

12   citizens and all of the Manufacturer Defendants are citizens of states other than California, see Part

13   I.A infra; the citizenship of Doe Defendants is ignored for purposes of determining diversity

14   jurisdiction, see Part I.B infra; and the citizenship of the Distributor Defendant should be ignored

15   for purposes of determining diversity jurisdiction, see Part I.C infra. The Distributor Defendant’s

16   citizenship should be ignored because the Distributor Defendant is (1) fraudulently joined,

17   (2) fraudulently misjoined, and (3) severable under Federal Rule of Civil Procedure 21.

18          A.      Plaintiffs Are Diverse From the Manufacturer Defendants

19                  1.      All Plaintiffs Are Citizens of California

20          11.     The County of San Joaquin, City of Stockton, and Montezuma Fire Protection

21   District are California citizens for purposes of diversity jurisdiction.

22          12.     The County of San Joaquin is a California citizen for purposes of diversity

23   jurisdiction. See Moor v. Alameda Cty., 411 U.S. 693, 721 (1973) (holding that Alameda County is

24   a California citizen for purposes of diversity jurisdiction).

25          13.     The City of Stockton and Montezuma Fire Protection District are California citizens

26   for purposes of diversity jurisdiction. See id. at 717 (“[A] political subdivision of a State, unless it

27   is simply ‘the arm or alter ego of the State,’ is a citizen of the State for diversity purposes.”)

28   (quoting State Highway Comm’n of Wyo. v. Utah Constr. Co., 278 U.S. 194, 199 (1929)); Hensley


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 1   v. U.S. Drug Enf’t Admin., 2007 WL 4225565, at *4-5 (S.D. Cal. Nov. 28, 2007) (holding that the

 2   City of San Buenaventura is a California citizen for purposes of diversity jurisdiction); Feature

 3   Realty, Inc. v. City of Spokane, 331 F.3d 1082, 1085 n.1 (9th Cir. 2003) (“[T]he Spokane City

 4   Council is a ‘citizen’ of Washington for purposes of the diversity statute.” (citation omitted)).

 5                  2.      None of the Manufacturer Defendants Are Citizens of California
 6          14.     For purposes of diversity jurisdiction, a corporation is “a citizen of every State and
 7   foreign state by which it has been incorporated and of the State or foreign state where it has its
 8   principal place of business . . . .” 28 U.S.C. § 1332(c)(1). A partnership is a citizen of every state
 9   in which its partners are citizens. See Americold Realty Tr. v. Conagra Foods, Inc., 136 S. Ct.
10   1012, 1015 (2016); Whitehurst v. Bank2 Native Am. Home Lending, LLC, 2014 WL 12576239, at
11   *1 (E.D. Cal. Aug. 8, 2014).
12          15.     Applying these principles, none of the Manufacturer Defendants are citizens of
13   California.
14          16.     Defendant Endo Health Solutions Inc. is a corporation organized under the laws of
15   Delaware with its principal place of business in Malvern, Pennsylvania. (Compl. ¶ 39.)
16          17.     Defendant Endo Pharmaceuticals Inc. is a corporation organized under the laws of
17   Delaware with its principal place of business in Malvern, Pennsylvania. (Id. ¶ 40.)
18          18.     Defendant Purdue Pharma L.P. (“PPLP”) is a limited partnership organized under the
19   laws of Delaware, none of whose partners are residents of California. (See id. ¶ 24.)
20          19.     Defendant Purdue Pharma Inc. is a corporation organized under the laws of New
21   York with its principal place of business in Stamford, Connecticut. (Id. ¶ 25.)
22          20.     Defendant The Purdue Frederick Company, Inc. is a corporation organized under the
23   laws of New York with its principal place of business in Stamford, Connecticut. (Id. ¶ 26.)
24          21.     Defendant Teva Pharmaceuticals USA, Inc. is a corporation organized under the
25   laws of Delaware with its principal place of business in North Whales, Pennsylvania. (Id. ¶ 29.)
26          22.     Defendant Cephalon, Inc. is a corporation organized under the laws of Delaware
27   with its principal place of business in Frazer, Pennsylvania. (Id. ¶ 30.)
28

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 1            23.   Defendant Johnson & Johnson is a corporation organized under the laws of New

 2   Jersey with its principal place of business in New Brunswick, New Jersey. (Id. ¶ 33.)

 3            24.   Defendant Janssen Pharmaceuticals, Inc. is a corporation organized under the laws of

 4   Pennsylvania with its principal place of business in Titusville, New Jersey. (Id. ¶ 34.)

 5            25.   Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. is a corporation organized

 6   under the laws of Pennsylvania with its principal place of business in Titusville, New Jersey. (Id.

 7   ¶ 35.)

 8            26.   Defendant Janssen Pharmaceutica, Inc. is a corporation organized under the laws of

 9   Pennsylvania with its principal place of business in Titusville, New Jersey. (Id. ¶ 36.)

10            27.   Accordingly, all of the Manufacturer Defendants are citizens of a state other than

11   California.

12            B.    The Citizenship of Doe Defendants Should Be Ignored
13            28.   The citizenship of the unnamed, unidentified Doe Defendants should be ignored for

14   purposes of determining whether this action is removable based on diversity of citizenship. See 28

15   U.S.C. § 1441(b)(1) (“In determining whether a civil action is removable on the basis of [diversity

16   of citizenship], the citizenship of defendants sued under fictitious names shall be disregarded.”).

17            C.    The Citizenship of the Distributor Defendant Should Be Ignored
18                  1.      The Distributor Defendant Is Fraudulently Joined
19            29.   Even where the face of a complaint shows a lack of complete diversity, removal is
20   nonetheless proper where the non-diverse defendant is fraudulently joined. This is because the
21   citizenship of a fraudulently joined non-diverse defendant “is ignored for purposes of determining
22   diversity.” Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1067 (9th Cir. 2001). A defendant is
23   fraudulently joined when the plaintiff “fails to state a cause of action against” the defendant “and
24   the failure is obvious according to the settled rules of the state.” Id. (citation and internal quotation
25   marks omitted).
26            30.   Plaintiffs’ joinder of the Distributor Defendant in their Complaint is fraudulent for
27   two independent reasons. First, under settled California law, neither of the “causes of action” that
28   Plaintiffs purport to assert against the Distributor Defendant—unjust enrichment and parens

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 1   patriae—are cognizable, and thus neither provides an independent basis for recovery. Second, both

 2   purported “causes of action” against the Distributor Defendant are premised solely on alleged

 3   violations of the CSA—a federal statute that Plaintiffs lack standing to enforce, or otherwise bring

 4   claims under, as a matter of settled law.

 5          31.     The Complaint purports to assert two causes of action against the Distributor

 6   Defendant: unjust enrichment and parens patriae. (Compl. ¶¶ 230-238.) Neither is a cognizable

 7   cause of action under settled California law.

 8                  (a)     This Court has recognized that unjust enrichment is not a stand-alone cause

 9   of action under settled California law. E.g., Walker v. USAA Cas. Ins. Co., 474 F. Supp. 2d 1168,

10   1174 (E.D. Cal. 2007) (dismissing unjust enrichment claim with prejudice because “unjust

11   enrichment is merely a synonym for the remedy of restitution and not a stand-alone cause of

12   action”), aff’d sub nom. Walker v. Geico Gen. Ins. Co., 558 F.3d 1025 (9th Cir. 2009). Other

13   California federal courts have done the same. E.g., Sater v. Chrysler Grp. LLC, 2015 WL 736273,

14   at *14 (C.D. Cal. Feb. 20, 2015) (dismissing unjust enrichment claim with prejudice because

15   “California . . . [does] not recognize unjust enrichment as an independent cause of action” (citing

16   cases)); Rieger v. Wells Fargo Bank, Nat’l Ass’n, 2013 WL 3835815, at *5 (N.D. Cal. July 23,

17   2013) (same). Accordingly, Plaintiffs’ purported unjust enrichment claim against the Distributor

18   Defendant fails as a matter of settled California law.

19                  (b)     Under equally settled California law, parens patriae likewise is not a stand-

20   alone cause of action, but rather a standing concept. See Alfred L. Snapp & Son v. P. R., 458 U.S.

21   592, 600 (1982) (describing “the concept of parens patriae standing that has developed in American

22   law”). Parens patriae means “parent of the country” and “refers traditionally to [the] role of state

23   as sovereign and guardian of persons under legal disability.” Id. at 600 n.8 (citation and internal

24   quotation marks omitted). It is not a cognizable cause of action. See id. at 607 (discussing

25   “whether an alleged injury to the health and welfare of its citizens suffices to give the State standing

26   to sue as parens patriae”); Clayworth v. Pfizer, Inc., 49 Cal. 4th 758, 776 n.14 (2010) (adopting

27   Alfred L. Snapp & Son’s definition of parens patriae); Mass. v. E.P.A., 549 U.S. 497, 538 (2007)

28   (Roberts, C.J., dissenting) (“A claim of parens patriae standing is distinct from an allegation of

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 1   direct injury.”); State of Cal. v. Frito-Lay, Inc., 474 F.2d 774, 775 (9th Cir. 1973) (“Parens patriae

 2   has received no judicial recognition in this country as a basis for recovery of money damages for

 3   injuries suffered by individuals.” (footnote omitted)). Thus, Plaintiffs’ purported parens patriae

 4   claim against the Distributor Defendant also fails as a matter of settled California law.

 5          32.     Even if unjust enrichment and parens patriae were cognizable causes of action in

 6   California (and they are not), Plaintiffs’ claims against the Distributor Defendant would still fail

 7   because Plaintiffs lack standing to bring them as a matter of settled law. Plaintiffs base these claims

 8   solely on the Distributor Defendant’s alleged violation of the CSA, which, according to Plaintiffs,

 9   requires the Distributor Defendant to “report suspicious orders of opioids.” (Compl. ¶ 44.)

10   Plaintiffs allege that the Distributor Defendant failed to satisfy this reporting requirement, as

11   evidenced by the Distributor Defendant’s 2008 and 2017 settlements with the Department of

12   Justice. (Id. ¶¶ 44-45, 209-212.) According to Plaintiffs, the 2008 settlement required the

13   Distributor Defendant to develop a program to “ensure future compliance with the monitoring and

14   reporting requirements of the CSA with respect to opioid shipments.” (Id. ¶ 45.) Plaintiffs further

15   allege that the Distributor Defendant’s “failure to comply with federal law never ceased after the

16   2008 . . . Settlement,” supposedly leading to the 2017 settlement. (Id. ¶¶ 211-212.) Plaintiffs then

17   allege that the Distributor Defendant’s “failure to comply with the terms of the 2008 . . .

18   Settlement”—i.e., its alleged ongoing violation of the CSA—“meant that excessive opioid sales into

19   San Joaquin County were not reported,” supposedly causing harm to Plaintiffs. (Id. ¶ 213.)

20          33.     Under settled law, Plaintiffs lack standing to enforce the CSA, and they cannot

21   circumvent the CSA’s standing requirements by disguising their claims with equitable titles.

22   “[A]ccording to its plain terms, the CSA is a statute enforceable only by the Attorney General [of

23   the United States] and, by delegation, the Department of Justice.” Smith v. Hickenlooper, 164 F.

24   Supp. 3d 1286, 1290 (D. Colo. 2016), aff’d sub nom. Safe Streets All. v. Hickenlooper, -- F.3d --,

25   2017 WL 2454359 (10th Cir. June 7, 2017); see also 21 U.S.C. § 871(a) (“The Attorney General

26   may delegate any of his functions under this subchapter to any officer or employee of the

27   Department of Justice”); 28 C.F.R. § 0.55(c) (assigning to the Assistant Attorney General, Criminal

28   Division, responsibility for “[a]ll criminal and civil litigation under the Controlled Substances

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 1   Act”). As courts have recognized, “Congress . . . provided for enforcement of . . . the CSA by the

 2   [federal] executive branch” and “committed complete discretion to the [federal] executive branch to

 3   decide when and how to enforce” the CSA. Jones v. Hobbs, 745 F. Supp. 2d 886, 892-94 (E.D.

 4   Ark. 2010).

 5           34.     The CSA, moreover, does not confer a private right of action. “[C]ourts have

 6   consistently held that there is no private right of action under the CSA to enforce compliance.” U.S.

 7   v. Real Prop. & Improvement Located at 1840 Embarcadero, Oakland, Cal., 932 F. Supp. 2d 1064,

 8   1072 (N.D. Cal. 2013) (citations omitted); accord Smith, 164 F. Supp. 3d at 1290 (“[T]he CSA does

 9   not create a private right of action.”). In seeking to enforce the CSA notwithstanding this settled

10   law, Plaintiffs impermissibly “seek to bypass the congressionally mandated enforcement scheme[]

11   for the . . . CSA; in effect, they seek private enforcement of th[e] statute[] . . . .” Jones, 745 F.

12   Supp. 2d at 893; Safe Streets Alliance, 2017 WL 2454359, at *29 (affirming dismissal with

13   prejudice of claims asserted by county attorneys on behalf of their municipal offices that “advance

14   purported causes of action in equity to enforce” the CSA). As these cases make plain, Plaintiffs’

15   attempt to circumvent the CSA’s standing requirements fails as a matter of settled law.

16           35.     In fact, courts across the country have uniformly rejected the precise tactic that

17   Plaintiffs attempt here: pursuing state common law claims based on statutory violations for which

18   no private right of action exists. See, e.g., Broder v. Cablevision Sys. Corp., 418 F.3d 187, 203 (2d

19   Cir. 2005) (affirming dismissal of purported New York unjust enrichment claim because “[w]hen a

20   plaintiff does not possess a private right of action under a particular statute, and does not allege any

21   actionable wrongs independent of the requirements of the statute, a claim for unjust enrichment is

22   properly dismissed as an effort to circumvent the legislative preclusion of private lawsuits for

23   violation of the statute”) (citation and internal quotation marks omitted); Martinez v. Cap. One,

24   N.A., 863 F. Supp. 2d 256, 268 (S.D.N.Y. 2012) (same); Ambrosini v. Univ. Cable Holdings, Inc.,

25   2014 WL 3362244, at *3 (N.D. Cal. July 7, 2014) (“It would make little sense to allow plaintiffs . . .

26   to circumvent FEHA’s limitations merely by framing an employment discrimination claim as a

27   common law negligence claim.”); Coffman v. Bank of Am., NA, 2010 WL 3069905, at *8 (S.D. W.

28   Va. Aug. 4, 2010) (“Plaintiff may not circumvent the OTS’s exclusive authority to implement

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 1   disclosure requirements for federal savings banks through a state law claim of unconscionable

 2   inducement.”).

 3          36.       For these reasons, Plaintiffs’ attempt to shoe-horn a CSA violation into equitable

 4   claims fails as a matter of law, and the failure is “obvious.” Morris, 236 F.3d at 1067. Plaintiffs’

 5   joinder of the Distributor Defendant in this case is therefore fraudulent, and the Distributor

 6   Defendant’s California citizenship should be ignored for purposes of determining diversity

 7   jurisdiction. See id.

 8                    2.     The Distributor Defendant Is Also Fraudulently Misjoined
 9          37.       The citizenship of the Distributor Defendant also should be ignored for the
10   independent reason that the claims against it are fraudulently misjoined in this action. Fraudulent
11   misjoinder “refers to the joining of claims into one suit in order to defeat diversity jurisdiction
12   where in reality there is no sufficient factual nexus among the claims to satisfy the permissive
13   joinder standard.” Reed v. Am. Med. Sec. Grp., Inc., 324 F. Supp. 2d 798, 803 n.8 (S.D. Miss.
14   2004) (citation and internal quotation marks omitted); see also Tapscott v. MS Dealer Serv. Corp.,
15   77 F.3d 1353, 1360 (11th Cir. 1996) (“Misjoinder may be just as fraudulent as the joinder of a
16   resident defendant against whom a plaintiff has no possibility of a cause of action.” (footnote
17   omitted)), abrogated on another ground in Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th Cir.
18   2000)). As explained above, Plaintiffs’ claims against the Distributor Defendant are completely
19   separate and distinct from Plaintiffs’ claims against the Manufacturer Defendants. There is no
20   plausible basis for their inclusion here other than to defeat diversity.
21          38.       Indeed, in another opioid-related case involving the Distributor Defendant, a federal
22   district court recently applied the fraudulent misjoinder doctrine to deny a motion to remand an
23   action to state court. See Cty. Comm’n of McDowell Cty. v. McKesson Corp., 2017 WL 2843614, at
24   *5 (S.D. W. Va. July 3, 2017) (attached hereto as Exhibit 3). There, the plaintiff filed suit against
25   the Distributor Defendant and two other distributors of opioids for allegedly “flood[ing] McDowell
26   County with opioids well beyond what was necessary to address pain and other [legitimate]
27   reasons,” as well as a doctor for allegedly “provid[ing] written opioid prescriptions for patients,
28   knowing that the drugs were likely to be abused, diverted or misused.” Id. at *1. The court found

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 1   that these claims were fraudulently misjoined because “plaintiff’s claims against the [distributors]

 2   and the claims against [the doctor]” lacked “common questions of law or fact” and were “separate

 3   and distinct.” Id. at *5; see also id. at *4 (agreeing that “the claims against [the doctor] arise out of

 4   different transactions, involve different evidence, and rest on different legal theories than the claims

 5   against the [distributor defendants]”).

 6          39.     While the Ninth Circuit has neither adopted nor rejected the fraudulent misjoinder

 7   doctrine, multiple district courts in this Circuit—including this Court—have applied the doctrine.

 8   E.g., Sutton v. Davol, Inc., 251 F.R.D. 500, 504-05 (E.D. Cal. 2008) (finding misjoinder and

 9   describing defendants’ “legal and factual position” for applying the fraudulent misjoinder doctrine

10   as “compelling”); Greene v. Wyeth, 344 F. Supp. 2d 674, 684-85 (D. Nev. 2004) (“Although the

11   Ninth Circuit has not yet published an opinion addressing the fraudulent misjoinder rule, this Court

12   agrees with the Fifth and Eleventh Circuits that the rule is a logical extension of the established

13   precedent that a plaintiff may not fraudulently join a defendant in order to defeat diversity

14   jurisdiction in federal court.” (footnotes omitted)). But see Sutton, 251 F.R.D. at 504 (“The District

15   Courts, including those in the Ninth Circuit, are split concerning the applicability of the Tapscott

16   fraudulent misjoinder” doctrine).

17          40.     Because the claims against the Distributor Defendant are fraudulently misjoined in

18   this action, the Distributor Defendant’s California citizenship should be ignored for purposes of

19   determining diversity jurisdiction.

20                  3.      The Distributer Defendant Is a Dispensable Party Subject to Severance
21
            41.     Beyond the doctrines of fraudulent joinder and fraudulent misjoinder, removal is
22
     proper here because the claims against the Distributor Defendant are severable under Federal Rules
23
     of Civil Procedure 19 and 21. Under Rule 21, “the court may at any time, on just terms, add or drop
24
     a party. The court may also sever any claim against a party.” Fed. R. Civ. P. 21. “[I]t is well
25
     settled that Rule 21 invests district courts with authority to allow a dispensable nondiverse party to
26
     be dropped at any time.” Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826, 832 (1989); see
27
     also Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1154 (9th Cir. 1998) (affirming dismissal of non-
28
     diverse party to preserve diversity jurisdiction); Cuviello v. Feld Ent., Inc., 304 F.R.D. 585, 594

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 1   (N.D. Cal. 2015) (dismissing dispensable party to preserve diversity jurisdiction); Sutton, 251

 2   F.R.D. at 505 (same).

 3          42.     Sutton is instructive. There, two citizens of California filed a personal injury action

 4   in state court arising from the implant of a medical device. Id. at 502. Plaintiffs’ named as

 5   defendants (1) the manufacturer of the medical device, which was not a citizen of California, as

 6   well as (2) the doctor who performed the procedure and the hospital at which the procedure was

 7   performed, both of whom/which were citizens of California. Id. The manufacturer removed the

 8   action to federal court on the ground that the non-diverse defendants (the doctor and hospital) were

 9   not properly joined. Id. Despite the presence the doctor and hospital, the Court denied plaintiffs’

10   motion to remand the entire case.

11          43.     The Court explained that “[p]laintiffs’ claims based on strict products liability

12   against the [manufacturer] are separate from [p]laintiffs’ claims of medical malpractice against the

13   [doctor and hospital] in implanting a previously recalled [medical device] in [p]laintiff Sutton.” Id.

14   at 505. The Court held that “[p]laintiffs’ claims against the [doctor and hospital] are severed and

15   remanded pursuant to Rule 21 . . . so as to preserve the [manufacturer’s] right to removal . . . .” Id.

16          44.     As in Sutton and the cases like it, the Distributor Defendant is a dispensable party

17   under Rule 19 and the Court should exercise its broad discretion to sever Plaintiffs’ claims against

18   the Distributor Defendant under Rule 21.

19          45.     First, the Distributor Defendant is a dispensable party. Courts consider four factors

20   in determining whether a party is indispensable: “(1) the extent to which a judgment rendered in the

21   person’s absence might prejudice that person or the existing parties; (2) the extent to which any

22   prejudice could be lessened or avoided by (A) protective provisions in the judgment; (B) shaping

23   the relief; or (C) other measures; (3) whether a judgment rendered in the person’s absence would be

24   adequate; and (4) whether the plaintiff would have an adequate remedy if the action were dismissed

25   for nonjoinder.” White v. Univ. of Cal., 765 F.3d 1010, 1027-28 (9th Cir. 2014).

26          46.     Here, the first two factors are satisfied because neither the Distributor Defendant nor

27   Plaintiffs would be prejudiced by a judgment against the Manufacturer Defendants in the

28   Distributor Defendant’s absence. As discussed above, Plaintiffs’ claims against the Manufacturer

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 1   Defendants are separate and distinct from those against the Distributor Defendant. The third factor

 2   is satisfied because even if a judgment were entered against the Manufacturer Defendants, it would

 3   have no bearing on the Distributor Defendant’s potential liability. The fourth factor is satisfied

 4   because Plaintiffs could sue the Distributor Defendant in a separate action that focuses on the

 5   Distributor Defendant’s alleged conduct.

 6          47.     Second, the claims against the Distributor Defendant are severable under Rule 21

 7   because “they arise from different factual situations or pose different legal questions.” Khanna v.

 8   State Bar of Cal., 2007 WL 2288116, at *2 (N.D. Cal. Aug. 7, 2007). As discussed above,

 9   Plaintiffs’ claims against the Distributor Defendant arise from obligations under federal law to

10   report the sale of excessive quantities of drugs—those claims do not involve allegedly misleading

11   promotional statements about the drugs, as do the claims against the Manufacturer Defendants. The

12   factual and legal sufficiency of the claims against the Distributor Defendant, including the question

13   of whether Plaintiffs have standing to seek relief against the Distributor Defendant in the first

14   instance, are separate and distinct from the factual and legal issues raised by the claims against the

15   Manufacturer Defendants.

16          48.     In sum, because Plaintiffs are California citizens, and because none of the properly

17   joined defendants are California citizens, there is complete diversity of citizenship. See 28 U.S.C.

18   § 1332(a).

19   II.    THE AMOUNT IN CONTROVERY EXCEEDS $75,000

20          49.     “[A] defendant’s notice of removal need include only a plausible allegation that the

21   amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co.,

22   LLC v. Owens, 135 S. Ct. 547, 554 (2014). “[W]hen a defendant seeks federal-court adjudication,

23   the defendant’s amount-in-controversy allegation should be accepted when not contested by the

24   plaintiff or questioned by the court.” Id. at 553; see also Kaldis v. Wells Fargo Bank, N.A., 2016

25   WL 6407377, at *5-6 (C.D. Cal. Oct. 28, 2016). In determining whether the amount in controversy

26   is satisfied, the Court may consider compensatory and statutory damages, as well as punitive

27   damages. See Campbell v. Hartford Life Ins. Co., 825 F. Supp. 2d 1005, 1008-09 (E.D. Cal. 2011).

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 1          50.     Here, Plaintiffs allege that, “[a]s a direct . . . consequence of the [Manufacturer]

 2   Defendants’ wrongful conduct, Plaintiffs have been required to spend millions of dollars each year

 3   in their efforts to combat the public nuisance created by the [Manufacturer] Defendants’ deceptive

 4   marketing campaign.” (Compl. ¶ 22.) Plaintiffs seek “[c]ompensatory damages in an amount

 5   sufficient to . . . completely compensate Plaintiffs for all damages[,]” as well as punitive damages.

 6   (Id. Prayer for Relief.) It is thus clear that the amount in controversy exceeds $75,000.

 7   III.   ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED

 8          A.      This Notice of Removal Is Timely

 9          51.     This Notice of Removal is timely filed. Teva Pharmaceuticals USA, Inc. received

10   the Complaint through service by Plaintiffs on June 15, 2017. Endo received the Complaint through

11   service by Plaintiffs on June 16, 2017. Purdue Pharma L.P., Purdue Pharma Inc., and The Purdue

12   Frederick Company, Inc. received the Complaint through service by Plaintiffs on June 20, 2017.

13   Cephalon, Inc. received the Complaint through service by Plaintiffs on June 20, 2017. Janssen

14   Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals,

15   Inc., and Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc. received the Complaint

16   through service by Plaintiffs on June 23, 2017. Johnson & Johnson received the Complaint through

17   service by Plaintiffs on June 26, 2017. Based on these dates, filing of the Notice of Removal on

18   July 17, 2017 is timely. 28 U.S.C. § 1446(b)(1); Fed. R. Civ. P. 6(a)(1)(C); Rounds v. Cate, 2009

19   WL 722573, at *1 (E.D. Cal. Mar. 17, 2009).

20          B.      This Notice of Removal Is Properly Served
21          52.     Pursuant to 28 U.S.C. § 1446(d), Removing Defendants will provide a copy of this

22   Notice of Removal to Plaintiffs’ counsel and file a copy with the clerk of the San Joaquin County

23   Superior Court.

24          C.      All Properly Joined and Served Defendants Consent to Removal
25          53.     For purposes of removal for complete diversity jurisdiction under 28 U.S.C.

26   § 1332(a) and pursuant to 28 U.S.C. § 1446(b), all defendants who have been properly joined and

27   served must consent to removal. All Removing Defendants, i.e., the properly joined Manufacturer

28   Defendants, join in and consent to this removal.

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 1          54.     By filing this Notice of Removal, Removing Defendants do not waive any defense

 2   that may be available to them. All Removing Defendants expressly reserve any and all such

 3   defenses. If any question arises as to the propriety of the removal to this Court, Removing

 4   Defendants request the opportunity to present a brief and oral argument in support of their position

 5   that this case has been properly removed.

 6                                               CONCLUSION
 7          WHEREFORE, Removing Defendants hereby remove this action from the Superior Court of

 8   California, County of San Joaquin, to the United States District Court for the Eastern District of

 9   California.

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